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     Attorneys for the Plaintiffs
16
17                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
18
19    IN RE: ROUNDUP PRODUCTS                  MDL No. 2741
20    LIABILITY LITIGATION
                                               Case No. 16-md-02741-VC
21    ___________________________________
                                               DECLARATION OF ROBIN L.
22    Dickey v. Monsanto Co., 3:19-cv-04102    GREENWALD IN SUPPORT OF
23                                             PLAINTIFFS’ RESPONSE IN
      Domina v Monsanto Co., 3:16-cv-05887     OPPOSITION TO MONSANTO
24                                             COMPANY’S MOTION TO EXCLUDE
      Giglio v. Monsanto Co., 3:16-cv-05658    TESTIMONY OF DR. CHARLES
25                                             BENBROOK
      Janzen v. Monsanto Co., 3:19-cv-04103
26
27    Mendoza v. Monsanto Co., 3:19-cv-06046

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      DECLARATION OF ROBIN L. GREENWALD IN SUPPORT OF PLAINTIFFS’RESPONSE IN OPPOSITION
            TO MONSANTO’S MOTION TO EXCLUDE TESTIMONY OF CHARLES BENBROOK
                                       MDL NO. 2741
            Case 3:16-md-02741-VC Document 8344-1 Filed 12/10/19 Page 2 of 4



 1    Perkins v. Monsanto Co., 3:16-cv-06025
 2    Pollard v. Monsanto Co., 3:19-cv-04100
 3
      Russo v. Monsanto Co., 3:16-cv-06024
 4
      Sanders v. Monsanto Co., 3:19-cv-05752
 5
 6    Tanner v. Monsanto Co., 3:19-cv-04099

 7
 8
 9   I, Robin L. Greenwald, hereby declare as follows:

10
     1. I am an attorney at Weitz & Luxenberg, P.C., attorneys of record for Plaintiffs. I submit this
11
        declaration in support of Plaintiffs’ Response in Opposition to defendant Monsanto
12
13      Company’s Motion to Exclude Testimony of Dr. Charles Benbrook. I submit this declaration

14      based upon my personal knowledge of the facts stated in this declaration, and if called to testify,
15
        I could and would competently testify to the matters stated herein.
16
     2. Annexed hereto as Exhibit 1 is a true and accurate copy of the trial testimony of Dr. Benbrook
17
        in Johnson v. Monsanto Co.
18
19   3. Annexed hereto as Exhibit 2 is a true and accurate copy of Benbrook, Carcinogen Policy at

20      EPA, Science, Vol. 219, 798 (1983).
21
     4. Annexed hereto as Exhibit 3 is a true and accurate copy of Dr. Benbrook’s Curriculum Vitae.
22
     5. Annexed hereto as Exhibit 4 is a true and accurate copy of Dr. Benbrook’s Congressional
23
        testimony, dated September 7, 1988.
24
25   6. Annexed hereto as Exhibit 5 is a true and accurate copy of Benbrook, C., How did the US EPA

26      and IARC reach diametrically opposed conclusions on the genotoxicity of glyphosate-based
27
        herbicides?, Environ Sci Eur 31:2 (2019).
28

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      DECLARATION OF ROBIN L. GREENWALD IN SUPPORT OF PLAINTIFFS’RESPONSE IN OPPOSITION
            TO MONSANTO’S MOTION TO EXCLUDE TESTIMONY OF CHARLES BENBROOK
                                       MDL NO. 2741
            Case 3:16-md-02741-VC Document 8344-1 Filed 12/10/19 Page 3 of 4



 1   7. Annexed hereto as Exhibit 6 is a true and accurate copy of Some food for thought – A short
 2      comment on Charles Benbrook’s paper ‘How Did the U.S. EPA and IARC Reach Diametrically
 3
        Opposed Conclusions on the Genotoxicity of Glyphosate-based Herbicides?’ and its
 4
        implications, Environ Sci Eur 31:3 (2019).
 5
 6   8. Annexed hereto as Exhibit 7 is a true and accurate copy of Dr. Benbrook’s Materials

 7      Considered List.
 8   I hereby declare under the penalty of perjury that the facts set forth herein are true and accurate.
 9
10
        Executed this 10th day of December, 2019.
11
                                                           Respectfully submitted,
12
                                                           /s/ Robin Greenwald
13                                                         Robin Greenwald
                                                           rgreenwald@weitzlux.com
14                                                         Weitz & Luxenberg
15                                                         700 Broadway
                                                           New York, NY 10003
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                                                           Co-Lead Counsel for Plaintiffs
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      DECLARATION OF ROBIN L. GREENWALD IN SUPPORT OF PLAINTIFFS’RESPONSE IN OPPOSITION
            TO MONSANTO’S MOTION TO EXCLUDE TESTIMONY OF CHARLES BENBROOK
                                       MDL NO. 2741
            Case 3:16-md-02741-VC Document 8344-1 Filed 12/10/19 Page 4 of 4



 1                                    CERTIFICATE OF SERVICE
 2
            I HEREBY CERTIFY that on this 10th day of December, 2019, a copy of the foregoing
 3
     was filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing
 4
     to all appearing parties of record.
 5
 6
                                                              /s/ Robin L. Greenwald
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      DECLARATION OF ROBIN L. GREENWALD IN SUPPORT OF PLAINTIFFS’RESPONSE IN OPPOSITION
            TO MONSANTO’S MOTION TO EXCLUDE TESTIMONY OF CHARLES BENBROOK
                                       MDL NO. 2741
